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10                            UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
11                                 SOUTHERN DIVISION

12   PLANNED PARENTHOOD GREAT                          NO. 1:23-cv-00142-BLW
     NORTHWEST, HAWAII, ALASKA,
13   INDIANA, KENTUCKY, on behalf of itself,           STATES OF
     its staff, physicians and patients, CAITLIN       WASHINGTON,
14   GUSTAFSON, M.D., on behalf of herself and         ARIZONA,
     her patients, and DARIN L. WEYHRICH,              CALIFORNIA,
15   M.D., on behalf of himself and his patients,      COLORADO,
                                                       DELAWARE, HAWAI‘I,
16                         Plaintiffs,                 ILLINOIS, MAINE,
                                                       MINNESOTA, NEVADA,
17              v.                                     NEW JERSEY, NEW
                                                       YORK, OREGON,
18   RAÚL LABRADOR, in his official capacity           RHODE ISLAND, AND
     as Attorney General of the State of Idaho;        DISTRICT OF
19   MEMBERS OF THE IDAHO STATE                        COLUMBIA’S AMICI
     BOARD OF MEDICINE and IDAHO STATE                 CURIAE BRIEF IN
20   BOARD OF NURSING, in their official               SUPPORT OF
     capacities, COUNTY PROSECUTING                    PLAINTIFFS
21   ATTORNEYS, in their official capacities,

22                         Defendants.


                                                             ATTORNEY GENERAL OF WASHINGTON
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 1                                     I.      INTRODUCTION

 2          States often disagree on what policies best support their citizens, and—in the wake of

 3   the Supreme Court’s decision in Dobbs v. Jackson Women’s Health Organization, 142 S. Ct.

 4   2228 (2022)—few issues offer as divergent views as access to reproductive healthcare services,

 5   including abortion. But among the most fundamental aspects of our nation’s constitutional

 6   structure, one on which the very “preservation of which the Government under the Constitution

 7   depends,” is that “all the States are restricted within the orbits of their lawful authority.” New

 8   York Life Ins. Co. v. Head, 234 U.S. 149, 161 (1914). The Supreme Court has applied this

 9   principle to prevent a state from penalizing the performance of an abortion in another state

10   where such care is lawful in that other state. Yet that is exactly what the Idaho Attorney

11   General’s interpretation of Idaho law would do.1 Specifically, the Attorney General’s

12   interpretation finds that a referral for an out-of-state abortion constitutes assistance in the

13   performance of abortion in violation of Idaho Code § 18-622. However, this provision of Idaho

14   law prohibits assisting in the performance only of an abortion performed “in violation of this

15   subsection,” i.e., of Idaho law. Accordingly, in finding that referrals for out-of-state abortions

16   are prohibited by Idaho law, the Attorney General necessarily concludes that the out-of-state

17   abortions themselves violate Idaho law. The Constitution forbids such an interpretation of state

18   law.

19          Idaho’s effort to penalize conduct that is lawful in other states would inflict numerous

20   negative impacts on Amici States, such as discouraging travel and commerce, preventing

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             The Attorney General has since retracted the March 27, 2023 letter. See Dkt. 35-1,
     Ex. A. This amicus brief addresses the concerns of states with respect to the interpretation
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     advanced in the letter.

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 1   continuity of care for those traveling among states, and potentially increasing health care costs

 2   for those citizens temporarily in Idaho who cannot obtain timely reproductive healthcare

 3   services outside of their home state. This Court should grant the preliminary injunction and

 4   declare that Idaho Code § 18-622 does not apply to abortion care obtained or provided outside

 5   of Idaho. See Dkt. 1 at 18 (Complaint’s Prayer for Relief).

 6                             II.     INTEREST OF AMICI STATES

 7          Amici States have important sovereign interests in regulating activities within their

 8   borders. State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 422 (2003). As states that

 9   are committed to protecting access to reproductive healthcare, Amici have an interest in

10   preventing undue obstacles for patients to travel to Amici States to avail themselves of

11   healthcare services. See Dobbs, 142 S. Ct. at 2309 (Kavanaugh, J., concurring) (finding it “not

12   especially difficult as a constitutional matter” to conclude that a State may not “bar a resident

13   of that State from traveling to another State to obtain an abortion”).

14          Amici States also serve as providers or administrators of healthcare services to many

15   people and offer a full range of reproductive services, including abortion. In that capacity,

16   Amici States own and operate public hospital systems, employ healthcare personnel, and

17   license and/or regulate the many healthcare providers that operate within our jurisdictions.

18   Amici States thus have an interest in preventing uncertainties for those healthcare providers

19   that the Attorney General’s interpretation of Idaho’s abortion law may cause.

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 1                                          III.   ARGUMENT

 2   A.     The Attorney General’s Interpretation of Idaho Law Impermissibly Criminalizes
            Out-of-State Abortion Care
 3
            In the challenged letter, the Idaho Attorney General asserted that “Idaho law requires
 4
     the suspension of a health care professional’s license when he or she ‘assists in performing or
 5
     attempting to perform an abortion.’” Dkt. 1, Ex. 1 (Attorney General letter) (quoting Idaho
 6
     Code § 18-622(2)). However, an examination of the underlying statute makes clear that the
 7
     prohibition on assistance is limited to “abortion[s] in violation of this subsection.” Idaho Code
 8
     § 18-622(2). Accordingly, the Attorney General’s interpretation of § 18-622(2) indicates that,
 9
     in his view, out-of-state abortions, even if perfectly legal in the state in which they occur,
10
     would be “abortion[s] in violation of” Idaho law. Although the Attorney General’s opinion
11
     was nominally about in-state referrals, its reasoning has created lingering uncertainty regarding
12
     the provision of out-of-state abortion care that threatens a chilling effect on the provision of
13
     healthcare services in other states.
14
            The Supreme Court has expressly recognized that states may not prohibit abortions that
15
     are legal in the state in which the abortion occurs, out of the recognition that states are co-equal
16
     sovereigns. For example, in Bigelow v. Virginia, the Supreme Court reversed the conviction of
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     a Virginia newspaper editor who had published an advertisement for a New York abortion
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     referral service that helped women obtain legal abortions in New York at a time when abortion
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     was illegal in Virginia. The editor had been convicted of violating a Virginia statute that made
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     it a misdemeanor to encourage or prompt, by the sale or circulation of any publication, the
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     procuring of an abortion. Bigelow, 421 U.S. 809, 811–12 (1975). The Court dismissed
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 1   Virginia’s asserted interest in shielding its citizens from certain commercial advertisements

 2   published in Virginia to abortion referral services offered in another state. Id. at 827–28. The

 3   Court also explained that Virginia could not have regulated the advertiser’s activity in New

 4   York, “and obviously could not have proscribed the activity in that State” either. Id. at 822–

 5   23. Nor could Virginia prevent its residents from traveling to New York to obtain abortion

 6   services or prosecute those residents “for going there.” Id. at 824. The Court further

 7   emphasized, and critical to this case, that “Virginia possessed no authority to regulate the

 8   services provided in New York—the skills and credentials of the New York physicians and of

 9   the New York professionals who assisted them, the standards of the New York hospitals and

10   clinics to which patients were referred, or the practices and charges of the New York referral

11   services.” Id. Likewise, here, Idaho would stretch its laws to penalize Idaho-licensed providers

12   lawfully performing an abortion in a different state, though Idaho possesses no authority to

13   regulate the services provided lawfully out-of-state. See Dkt. 2-1 at 18–19 (discussing Idaho

14   providers who would like to provide abortions out-of-state) (citing Gibron Decl. ¶ 24;

15   Gustafson Decl. ¶ 15).

16          Bigelow is also consistent with the Supreme Court’s more recent decisions reading

17   territorial restrictions on state sovereignty into the concept of due process. For example, in

18   BMW of North America, Inc. v. Gore, the Court stated that a state has no “power . . . to punish

19   [a defendant] for conduct that was lawful where it occurred and that had no impact on [the

20   state] or its residents.” Gore, 517 U.S. 559, 572–73 (1996). Amici States, of course, recognize

21   states’ police powers to protect their own residents, but Idaho cannot give its abortion

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 1   prohibitions extraterritorial effect by treating the lawful provision of abortion care outside the

 2   state as a violation of Idaho law.

 3   B.     States Have an Interest in Preserving Their Own Policies

 4          Amici States acknowledge Idaho’s interest in exercising its police power over public

 5   health policy within its borders. Amici States likewise have a longstanding and significant

 6   interest in ensuring access to reproductive healthcare within their own borders. In Washington,

 7   for instance, voters codified the right to choose abortion into state law in 1991, “declar[ing]

 8   that every individual possesses a fundamental right of privacy with respect to personal

 9   reproductive decisions,” including the “right to choose or refuse to have an abortion.” Wash.

10   Rev. Code § 9.02.100; see also H.B. 1851, 67th Leg., Reg. Sess., § 1 (Wash. 2022)

11   (legislatively affirming that “[i]t is the longstanding public policy of this state to promote

12   access to affordable, high quality sexual and reproductive health care, including abortion care,

13   without unnecessary burdens or restrictions on patients or providers”). Similarly, in Oregon,

14   state law ensures that a “consenting individual” cannot be deprived of “the choice of

15   terminating the individual’s pregnancy,” nor can a health care provider “who is acting within

16   the scope of the health care provider’s license” be prohibited from “terminating or assisting in

17   the termination of a patient’s pregnancy.” Or. Rev. Stat. § 659.880. Further, in California, the

18   right to choose an abortion is not only enshrined in state statute, see Cal. Health & Safety Code

19   § 123462 (declaring the public policy of the state that “[e]very pregnant individual or

20   individual who may become pregnant has the fundamental right to choose to bear a child or to

21   choose to have and to obtain an abortion”), but voters also recently approved an amendment

22   to California’s Constitution, which specifies that the constitution protects the “fundamental

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 1   right to choose to have an abortion.” Cal. Const., art. 1, § 1.1. Many other states have similarly

 2   expressed the preservation of reproductive freedom as a significant individual right. See 22

 3   Me. Stat. tit. 22, § 1598(1) (asserting Maine’s public policy that the “State not restrict a

 4   woman’s exercise of her private decision to terminate a pregnancy before viability”); see also

 5   Center       for   Reproductive   Rights,   After   Roe   Fell:   Abortion    Laws    by    State,

 6   https://reproductiverights.org/maps/abortion-laws-by-state/ (last visited Apr. 20, 2023)

 7   (interactive map showing state policies on rights to abortion care).

 8   C.       The Attorney General’s Interpretation Will Harm Amici State Interests

 9            The Attorney General’s interpretation of Idaho law substantially threatens Amici

10   States’ interests in the orderly provision of medical care. Specifically, the Attorney General’s

11   conclusion that out-of-state abortion care could violate Idaho law would result in delayed

12   reproductive health services and irreparable harm for patients who may have otherwise

13   traveled out-of-state to receive such care and providers who are licensed to lawfully provide

14   such care outside of Idaho. Delays in receiving abortion care can increase both the risks for the

15   patient and the costs of the procedure.2 In addition, many pregnancy and miscarriage

16   complications can require time-sensitive treatment, including abortion care, to stabilize

17   emergency conditions. In such circumstances, any failure or delays in providing necessary

18   abortion care puts the pregnant patient’s life or health at risk.3 See United States v. Idaho,

19            2
               National Academies of Sciences, Engineering, and Medicine, The Safety and Quality
20   of Abortion Care in the United States 12, 77–78 (National Academies Press 2018),
     http://nap.nationalacademies.org/24950.
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     pregnancy-can-be-necessary-to-save-a-womans-life-experts-say-idUSL1N2TC0VD;

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 1   No. 1:22-CV-00329-BLW, 2022 WL 3692618, at *15 (D. Idaho Aug. 24, 2022) (identifying

 2   pregnancy-related complications that require emergency care and the harms caused by

 3   discouraging healthcare professionals from providing abortion care that would be necessary to

 4   save a patient’s life).

 5           These delays and increased risks and costs affect more than just Idaho residents. First,

 6   any residents of other states traveling to, or temporarily residing in, Idaho and seeking

 7   healthcare services could be affected. Second, as the provider of health insurance for state

 8   employees and their children, who may be temporarily visiting or residing in Idaho, Amici

 9   States have a direct financial interest in preventing increased risk to patients and cost of

10   medical care resulting from undue delays or impeded continuity of care.

11           Finally, healthcare providers licensed in multiple states including Idaho would

12   reasonably fear Idaho’s apparent reading of its laws, producing a chilling effect on the lawful

13   provision of healthcare in other states. For example, a healthcare provider licensed in both

14   Idaho and a neighboring state, such as Washington or Oregon, may be reluctant to provide

15   abortion services in Washington or Oregon for fear of being subjected to licensing enforcement

16   action in Idaho, potentially resulting in the restriction of their Idaho license or the imposition

17   of fines. This fear can be exacerbated due to reciprocal licensing schemes in which licensing

18   enforcement action in Idaho may influence, and in some cases purportedly require, licensing

19   enforcement action in another state. See, e.g., Interstate Medical Licensure Compact,

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     American College Of Obstetricians and Gynecologists, Facts Are Important: Understanding
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     Ectopic Pregnancy, https://www.acog.org/advocacy/facts-are-important/understanding-
     ectopic-pregnancy (last visited Apr. 20, 2023) (“[U]ntreated ectopic pregnancy is life
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     threatening; withholding or delaying treatment can lead to death.”).

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 1   https://imlcc.org (last visited Apr. 20, 2023) (showing over 25 states as members of the

 2   Compact); Interstate Medical Licensure Compact Commission, Rule on Coordinated

 3   Information System, Joint Investigations and Disciplinary Actions, at ⁋ 6.5(a),

 4   https://www.imlcc.org/wp-content/uploads/2022/11/IMLCC-Rule-Chapter-6-Coordinated-

 5   Information-System-Joint-Investigations-and-Disciplinary-Actions-Adopted-November-16-

 6   2018-Amended-11-8-2022.pdf (“Any disciplinary action by a disciplining Board shall be

 7   considered unprofessional conduct and may be a basis for discipline by other member Boards.

 8   This includes any action that does not have a corresponding ground by the other member

 9   Board’s Medical Practice Act . . . .”). State constitutional or statutory protections in some

10   states may alleviate the reciprocal licensing concerns, but other states may not have such

11   explicit protections.

12          This Court should prevent these harmful impacts of the Attorney General’s

13   interpretation of Idaho law.

14                                     IV.     CONCLUSION

15          This Court should grant Plaintiffs’ motion for a preliminary injunction.

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 1                                 CERTIFICATE OF SERVICE

 2          I hereby declare that on this day I caused the foregoing document to be electronically

 3   filed with the Clerk of the Court using the Court’s CM/ECF System, which will serve a copy

 4   of this document upon all counsel of record.

 5          DATED this 21st day of April 2023, at Olympia, Washington.

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